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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America )
v. )
é Case No.
Lucas Shirley II )
3:23-mj- | 042. - LLL
)
ee ee )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 24,2023 ———_—_sin the county of Duval” __ inthe
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
26 U.S.C. § 5861(d)-(e) Possession and transfer of unregistered short-barreled rifles

This criminal complaint is based on these facts:

See attached Affidavit.

@ Continued on the attached sheet.

Complainant's signature

David Simmons, ATF Special Agent

Printed name and title

Sworn to before me and signed in my presence.

pate: 2/1/23 onic. an -

Judge's signature

City and state: Jacksonville, Florida Laura Lothman Lambert, U.S. Magistrate Judge
Printed name and title

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Affidavit in Support of an Application for a
Search Warrant and a Criminal Complaint

I, David Simmons, being duly sworn, depose and state:

I. INTRODUCTION
Identity of Affiant

1. Iam a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives (hereinafter “ATF’”), and have been since 2015. Iam an
investigative or law enforcement officer within the meaning of 18 U.S.C. § 2510(7).
As such, I am empowered by law to conduct investigations of, and to make arrests
for, offenses enumerated in 18 U.S.C. § 2516. I have successfully completed the
Criminal Investigators Training Program Academy and the ATF Special Agent Basic
Training Program at the Federal Law Enforcement Training Center located in
Glynco, Georgia. Iam currently assigned to the ATF Tampa Field Division,
Jacksonville Field Office. J have successfully completed investigative training
courses in the field of narcotics investigations/operations and firearms investigations,
in addition to conducting both state and federal felony level criminal investigations.
I have participated in many investigations involving the unlawful possession and
distribution of firearms.

2. I am familiar with, and have participated in, many methods of
investigation, including, but not limited to, electronic surveillance, visual
surveillance, general questioning of witnesses, use of search warrants, use of

confidential informants and use of undercover agents. Based on my knowledge,
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training, and experience, and my participation in this investigation and other
investigations involving the illegal possession, use, sale, and transfer of firearms, as
well as drug trafficking, I know that:

a. Persons engaged in firearms offenses, such as, firearms possession by
prohibited persons, illegal firearms trafficking, and firearm possession in
furtherance of drug trafficking, commonly maintain addresses or phone
numbers and books or ledgers that reflect names, addresses, social-media
contacts, and/or phone numbers of their associates, suppliers, and
clients in their residence, on their cellular and tablet devices, or on their
persons, where they are concealed from law enforcement authorities and
third parties;

b. Persons involved in firearms offenses frequently take or cause to be
taken photographs or videos of themselves, their associates, and their
firearms, and that these persons maintain these photographs or videos at
their residence, and on their computers, tablet devices, portable digital
media, and cellular devices;

c. Electronic devices can store information for long periods of time.
Similarly, things that have been viewed via the Internet are typically
stored for some period on the internet-capable device. This information
can sometimes be recovered with forensics tools.

d. Many people who own, possess, acquire, or maintain firearms, whether

prohibited or not, keep and store, at their residences, firearms,
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ammunition, gun parts, gun-cleaning kits, holsters, ammunition belts,
original box-packaging, targets, expended pieces of lead, evidence of the
purchase of the firearm, and bullet-loading equipment either in their
residence, storage building, or storage shed.

e. Illegal firearm and drug traffickers often place assets, including accounts
at financial institutions, in names other than their own to avoid the
detection of these assets by government or other law enforcement
agencies. Even though these assets are in other persons’ names, the
illegal firearm and drug traffickers continue to use these assets and
exercise dominion and control over them;

f. Tegal firearms and drug traffickers often must maintain large amounts
of United States currency on hand in order to maintain and finance their
on-going business;

g. Illegal firearms and drug traffickers often maintain books, records,
receipts, notes, ledgers, computers and computer disks, airline tickets,
money orders, cashier check receipts, photographs, bank records, credit
card records, automobile rental records, vehicle registrations, real estate
records, mail and contract mail carrier records, records of shipping
packages, keys to safe deposit boxes, and other papers relating to the
manufacture, transportation, ordering, sale, of firearms and controlled

substances;
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h. Illegal firearms and drug traffickers often use cell phones, smart phones,
and other electronic devices to facilitate their illicit transactions and to
move and transfer any illicit proceeds. Illegal firearms and drug
traffickers, using cell phones and other electronic devices with internet
access, use the internet and various social-media applications to
advertise illegal sales, to facilitate illicit transactions with their customers
and sources of supply, and to brag about their trafficking activities.
Illegal firearms and drug traffickers use cell phones and other electronic
devices to keep electronic record of customers, associates, carriers, co-
conspirators, and suppliers, and to keep electronic record of trafficking
activity. Illegal firearms and drug traffickers use cell phones and other
electronic devices to conduct financial transactions with and launder
their illicit proceeds using various applications for internet banking and
internet financial services. Illegal firearms and drug traffickers often
carry, possess, and secrete, on their person, in their residences, in their
businesses, and in stash or trap houses (residences used to store and
distribute illegal drugs and firearms) multiple cell phones and electronic
devices. Illegal firearms and drug traffickers have been known to use
multiple “burner” cell phones and have been known to periodically stop
using one.cell phone and switch to another cell phone once a co-
conspirator, customer, associate, or supplier has contact with law

enforcement. From my training and experience, I know cell phones,

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particularly smart cell phones, and other electronic devices (such as
tablets), possess a large capability to store vast amounts of electronic
data, including photos, text messages, videos, notes, and other
electronically stored data, for extensive periods of time;

i. When illegal firearms and drug traffickers collect proceeds from illicit
sales, they often attempt to legitimize these profits. To accomplish this
goal, firearms and drug traffickers use, including but not limited to,
foreign and domestic banks; internet banks and internet banking and
financial services, e.g., Coinbase, Cashapp, and Venmo, and their
attendant services; securities; cashier’s checks; money orders; bank
drafts; letters of credit; debit or credit cards; brokerage houses; trusts;
partnerships; shell corporations; and business fronts;

j. Illegal firearms and drug traffickers and persons engaged in firearms
offenses commonly maintain addresses and/or telephone numbers,
pager records, telephone toll records, cell phone records and other
records of phone calls, both in writing and electronically, in books or
papers, which reflect the names, addresses and phone numbers for their
associates and clients, in their residences or on their persons;

k. Courts have recognized that unexplained wealth is probative evidence of
crimes motivated by greed, in particular, illegal firearm and drug

trafficking;
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1, Whether or not the firearm(s) sought are recovered through this search
warrant, the above items tend to show that a firearm(s) existed and may
have been located in a place to which the suspect had access, and these
items would tend to connect the suspect with the firearm(s) sought. In
my experience, a person does not normally dispose of firearms after the
commission of a crime or after illegal possession of firearms and they
are, therefore, likely to be found in any location or vehicle to be searched
or on the person of any suspect to be searched pursuant to this warrant.

3. Because the target in this investigation is using electronic devices
(including cellular telephones and 3-d printers) to manufacture, possess, advertise,
and distribute firearms, short-barreled rifles, silencers and conversion devices that
turn various firearms into machineguns, and these conversion devices themselves are
defined as machineguns under 26 U.S.C. § 5845(b), the search warrant I am applying
for also seeks permission to seize and further search certain electronic devices and
electronic media found at the location to be searched at the time the search warrant
is executed. Accordingly, this warrant would also permit law enforcement to obtain
from the target of the investigation the display of physical biometric characteristics
(such as fingerprint, thumbprint, or facial characteristics) in order to unlock devices
subject to search and seizure pursuant to this warrant. I seek this authority based on
the following:

a. I know from my training and experience, as well as from information

found in publicly available materials published by device manufacturers,
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that many electronic devices, particularly newer mobile devices and
laptops, offer their users the ability to unlock the device through
biometric features in lieu of a numeric or alphanumeric passcode or
password. These biometric features include fingerprint scanners and
facial recognition features. Some devices offer a combination of these
biometric features, and the user of such devices can select which features
they would like to utilize.

b. Ifa device is equipped with a fingerprint scanner, a user may enable the
ability to unlock the device through his or her fingerprints. For example,
Apple offers a feature called "Touch ID," which allows a user to register
up to five fingerprints that can unlock a device. Once a fingerprint is
registered, a user can unlock the device by pressing the relevant finger to
the device's Touch ID sensor, which is found in the round button (often
referred to as the "home" button) located at the bottom center of the
front of the device. The fingerprint sensors found on devices produced
by other manufacturers have different names but operate similarly to
Touch ID.

c. Ifa device is equipped with a facial recognition feature, a user may
enable the ability to unlock the device through his or her face. For
example, Apple offers a facial recognition feature called "Face ID."
During the Face ID registration process, the user holds the device in

front of his or her face. The device's camera then analyzes and records
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data based on the user's facial characteristics. The device can then be
unlocked if the camera detects a face with characteristics that match
those of the registered face. Facial recognition features found on devices
produced by other manufacturers have different names but operate
similarly to Face ID.

d. In my training and experience, users of electronic devices often enable
the aforementioned biometric features because they are considered to be
a more convenient way to unlock a device than by entering a numeric or
alphanumeric passcode or password. Moreover, in some instances,
biometric features are considered to be a more secure way to protect a
device's contents. This is particularly true when the users of a device are
engaged in criminal activities and thus have a heightened concern about
securing the contents of a device.

e. As discussed in this affidavit, based on my training and experience, I
believe that one or more digital devices will be found during the search.
The passcode or password that would unlock the devices subject to
search under this warrant is not known to law enforcement. Thus, law
enforcement personnel may not otherwise be able to access the data
contained within the devices, making the use of biometric features
necessary to the execution of the search authorized by this warrant.

f. I also know from my training and experience, as well as from

information found in publicly available materials including those
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published by device manufacturers, that biometric features will not
unlock a device in some circumstances even if such features are enabled.
This can occur when a device has been restarted, inactive, or has not
been unlocked for a certain period of time. For example, Apple devices
cannot be unlocked using Touch ID when (1) more than 48 hours has
elapsed. since the device was last unlocked or (2) when the device has not
been unlocked using a fingerprint for 4 hours and the passcode or
password has not been entered in the last 156 hours. Biometric features
from other brands carry similar restrictions. Thus, in the event law
enforcement personnel encounter a locked device equipped with
biometric features, the opportunity to unlock the device through a
biometric feature may exist for only a short time.

g. In my training and experience, I know that in some cases it may not be
possible to know with certainty who is the user of a given device, such as
if the device is found in a common area of a premises.

4. The information contained in this affidavit is based on my personal
knowledge derived from my participation in this investigation, as well as the
information, observations, and investigations of other federal, state, and local law
enforcement officers, and my review of records and other documents. This affidavit
also contains information that was provided by an ATF confidential informant,
hereinafter referred to as a CI. The CI, irrespective of the sex, is referred to in the

masculine gender. Because this affidavit is being submitted for the limited purpose of
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establishing probable cause to secure a search warrant for the residence identified in
this affidavit, I have not included every fact known about this investigation.

5. In the course of my duties as a special agent of the ATF, I have been
investigating violations of 18 U.S.C. § 922(0) (possession of machineguns); 26 U.S.C.
§ 5861 (a) (failure to register as a firearms dealer, manufacturer, or importer, or to pay
required tax); 26 U.S.C. § 5861(j) (transport, delivery, or receipt of unregistered
firearm); and 26 U.S.C. § 5861(f) (making of firearm in violation of federal law)
(hereinafter, the “Specified Federal Offenses”) committed by LUCAS SHIRLEY II.
This affidavit relates to that investigation.

Requested Warrant

6. Based on the information in this affidavit, I request that a search
warrant be issued for the residence located at 2085 ‘Second Street, Jacksonville,
Florida 32218 (Target Location) because there is probable cause to believe that
evidence of violations of the Specified Federal Offenses by SHIRLEY is present at
the Target Location.

Criminal Complaint

7. This affidavit is also submitted in support of a criminal complaint

charging SHIRLEY with possession and transfer of unregistered short-barreled rifles

in violation of 26 U.S.C. § 5861(d)-(e).

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Il. PROBABLE CAUSE

8. On or about the week of January 1, 2023, I met with the CI. The CI
had been in contact with SHIRLEY, utilizing cellular telephone number 912-328-
8362 (“SHIRLEY Cell Phone 1”). SHIRLEY had agreed to manufacture and sell
firearms to the CI. The CI had requested from SHIRLEY firearms that were easily
concealable (short-barreled) and that were fully-automatic (machine guns).

9. On January 4, 2023, the CI and I (while working in an undercover
capacity) conducted a controlled purchase of firearms from SHIRLEY at the Target
Location. The CI and I travelled to the Target Location in a CI vehicle. Once at
the Target Location, the CI and I exited the CI vehicle, proceeded to the door of the
Target Location and the CI knocked. After a short period of time, the CI called
SHIRLEY ’s cellular telephone number. While the CI was calling SHIRLEY,
SHIRLEY opened the door to the Target Location and invited the CI and me inside.

10. As the CI and I entered the Target Location, both the CI and I were
standing in the living room area. SHIRLEY walked towards the rear of the Target
Location to retrieve the firearms. I observed a smelting pot covered with a silver
metallic substance on the kitchen floor and a 3D printer on the living room floor.

11. After a short period of time, SHIRLEY returned from the rear of the
Target Location with three privately made rifles and one silencer. A privately made
firearm is defined as a firearm, including a frame or receiver, completed, assembled,

or otherwise produced by a person other than a licensed manufacturer, and without a

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serial number placed by a licensed manufacturer at the time the firearm was
produced. The term does not include a firearm identified and registered in the
National Firearms Registration and Transfer Record pursuant to chapter 53, title 26,
United States Code, or any firearm manufactured or made before October 22, 1968
(unless remanufactured after that date). SHIRLEY provided the privately made
rifles and the silencer to the CI and me.

12. The CI, SHIRLEY, and IJ then engaged in conversation. The CI asked
SHIRLEY about the privately made pistol, a picture of which he (SHIRLEY) had
sent to the CI via a text message from SHIRLEY Cell Phone 1. SHIRLEY stated
that he was still putting a pistol together and that he had sold the other one.
SHIRLEY stated that he was working on a lathe to drill out the barrels and produce
rifling for better accuracy when firing. SHIRLEY then removed a sheet from the 3D
printer that I had observed and showed it to me. SHIRLEY explained the parts on
the sheet and the time it takes to make the parts. When asked about firearm parts,
SHIRLEY stated that he was using a new source and could get parts shipped out the
next business day.

13. Jasked SHIRLEY about one of the privately made rifles, which due to
my training and experience, I recognized as a short-barreled rifle, with a silencer and
a brass catcher attachment. SHIRLEY stated that once the parts came in, he could
have a firearm ready the same day and that it would cost $1,200 for each set-up
(short-barreled machine gun, silencer and brass catcher). I told SHIRLEY that I

wanted the rifles short, fully-automatic, and equipped with silencers to keep them

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quiet. SHIRLEY indicated that these rifles were chambered in 5.56mm but he could
do .300 Blackout or .22 caliber to make them even quieter. (As background
information, firearms expel projectiles in the caliber they are chambered in. A
firearm chambered in 5.56mm will fire 5.56mm ammunition whereas firearms
chambered in .22 caliber will fire .22 caliber ammunition. Chambering a firearm in
specific calibers will have a direct correlation as to the report of the firearm, that is,
how loud it will be when fired. A firearm chambered in .300 Blackout is commonly
used in subsonic loading, reducing the sound signature of the firearm. A firearm
chambered in .22 caliber utilizes a smaller diameter projectile and lower muzzle
velocity, which in turn also reduces the sound signature of the firearm.) During this
conversation with SHIRLEY, I advised SHIRLEY that I wanted a “few” rifles as
specified above. SHIRLEY responded that he hoped I wanted more than a few to
which I replied that I did.

14. SHIRLEY told the CI that he wanted $3,800 for the three privately
made rifles and the silencer. SHIRLEY stated that these firearms would not have
any names on them indicating that they don’t have serial numbers and that there is
no registered transaction with a recorded buyer. SHIRLEY further stated that he
was a firm believer that ATF does not have any business knowing what someone has
in their house. SHIRLEY stated that once he had some money, he was going to buy
more parts and continue building firearms. SHIRLEY pointed out a drill press on

his living room floor that was to be used to assemble the firearms.

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15. The CI then gave SHIRLEY $3,800 in ATF Agent Cashier Funds for
three privately made rifles and the silencer. I told SHIRLEY that I would get
SHIRLEY’S cellular telephone number from the CI and be in touch regarding future
purchases of firearms. SHIRLEY then directed the CI and me to the kitchen where
he had molds in which he was attempting to make aluminum Glock switches. (I
know from my training and experience that a Glock switch is a machinegun
conversion device that when properly installed on a semi-automatic Glock pistol,
converts it into a fully-automatic machinegun.) SHIRLEY indicated that he wanted
to make a more durable product that wouldn’t break.

16. The Cl and I exited the Target Location with the privately made
firearms and silencer and placed the items in the rear of the CI vehicle. The CI and I
then departed the area and proceeded to a predetermined meeting location.

17. On January 6, 2023, I made a recorded call to SHIRLEY who was
using SHIRLEY Cell Phone 1. SHIRLEY stated that he had placed an order for
parts on that day and that he was awaiting delivery.

18. On January 11, 2023, ATF Industry Operations Investigator (IO]D
Supervisor Carolyn King queried databases to determine if SHIRLEY was a licensed.
dealer of firearms. IOI Supervisor King was unable to locate any records indicating
that SHIRLEY was a licensed FFL (federally firearms licensee).

19. On January 11, 2023, I spoke with SHIRLEY on a recorded line.
SHIRLEY, who was using SHIRLEY Cell Phone 1, stated that he registered as a

vendor with his parts company and that he also invested in new equipment to

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manufacture firearms. SHIRLEY stated that he was making privately made rifles, as
well as, privately made pistols. SHIRLEY further stated that it was almost like he
was an FFL without the paperwork. SHIRLEY stated that he would be ready
around January 15 or 16, and that the cost would be $10,000 to $10,750.

20. On January 18, 2023, I spoke with SHIRLEY on a recorded line.

_ Using SHIRLEY Cell Phone 1, SHIRLEY stated that he was finishing assembling
the firearms and wanted to conduct a transaction. I advised SHIRLEY that I was
out of town and would be back in a few days. SHIRLEY advised me that a rental
company had taken his vehicle back and that he had to contact his probation officer
and let them know he wouldn’t be making it in for a visit. Based on my review of
SHIRLEY’s criminal history, I understand that he is serving a 10-year term of
probation in connection with a case in which the court withheld adjudication of guilt
for charges of possession of methamphetamine with intent to sell, and sale, deliver,
possess, or purchase a controlled substance.

21. I continued contact with SHIRLEY on January 18 and 19, 2023, ona
recorded line. SHIRLEY was using SHIRLEY Cell Phone 1. I advised SHIRLEY
that I was still out of town, but would return in a couple of days. In one text,
SHIRLEY responded “Damn. 10-4. I'm dead in the water until I see you is why.

No way to probation, both of my printers are down needing parts, when it rains it
pours huh, lol. But I appreciate that bro. No spoilers, but I've got you hooked up
with the shit the seals run, in your preferred length with all steel hand crafted, full

welded hush cans with all of the property geometry and expansion chambers, several

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burners, with all hand turned custom barrels, a G17 with upgraded internals, and a
22ir AR platform, with a black dog 25rnd mag. And the high end tuning and top tier
features you'll just have to see lol.” Based on my training and experience, I
understood that SHIRLEY was stating that he was manufacturing and modifying
firearms for the buyer. J further understood that the term “hush can” was being used
to describe a firearm silencer.

22. On January 22, 2023, SHIRLEY contacted me from telephone number
904-445-6739 (“SHIRLEY Cell Phone 2”). SHIRLEY advised me that his original
cellular telephone had been shut off and inquired when I would be back. I advised
SHIRLEY that I intended to be back in the following days.

23. On January 24, 2023, in an undercover capacity, I conducted a
controlled purchase of firearms from SHIRLEY at the Target Location. I travelled
to the Target Location in a UC vehicle. Once at the Target Location, I exited the
UC vehicle, proceeded to the door of the Target Location and knocked. After a
short period of time, SHIRLEY opened the door to the Target Location and invited
me inside.

24. As Ilentered the Target Location, SHIRLEY began showing me two
3D printers in his living room and explained how they had been working.

SHIRLEY then told me that he wanted to show me what he had been working on

and motioned for me to follow him down the hallway of the Target Location.

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25. SHIRLEY directed me into one of the rooms off the hallway and
showed me his welding area. SHIRLEY had a welding bench and ventilation set-up
in the room. SHIRLEY stated that everything was made by his hands. SHIRLEY
then directed me into another room off the hallway and showed me his painting
area. SHIRLEY currently had four silencers hanging and one lower receiver. A
lower receiver contains the trigger and firing components. SHIRLEY removed the
lower receiver and showed it to me. SHIRLEY then removed the four silencers and
explained how he had made them. SHIRLEY and I then carried the silencers back
to the living room area.

26. SHIRLEY began handing me four privately made rifles. SHIRLEY
explained the accessories/hardware on the rifles and further explained that the rifles
with Eotech brand sighting systems were semi-automatic. SHIRLEY continued and
explained that the rifles with the red dot sighting systems (a firearm sighting system
that superimposes a red dot on the intended target) were fully-automatic. SHIRLEY
then handed me a privately made derringer-style pistol. A derringer is a small, easily
concealable, pistol-style firearm. SHIRLEY explained how he made them, how they
functioned and that he chambered them in .22 caliber. SHIRLEY then retrieved a
privately made semi-automatic pistol. SHIRLEY explained how he made the pistol
and that it was chambered in 9mm.

27. SHIRLEY showed me a ledger, which was on a pad of paper by the
couch in the living room. The ledger had a pricing breakdown for the firearms.

SHIRLEY stated that he wanted $10,900 for the four privately made rifles and four

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silencers, $300 for each privately made derringer-style pistol, and $650 for the
privately made semi-automatic pistol. SHIRLEY agreed to exchange the four
privately made rifles and silencers for $11,000 and for me to take the three privately
made derringer style pistols with payment to occur at a later date. SHIRLEY agreed
to hold the privately made semi-automatic pistol for me.

28. Ihanded SHIRLEY $11,000 in ATF funds and loaded the privately
made firearms and silencers into a duffle bag. SHIRLEY stated that he was going to
order more parts and make additional firearms for me. SHIRLEY further advised
me that he was looking for a place to test some of his projects, to include Glock
switches and 3D printed upper receivers, in an effort to reduce any paper trails.
SHIRLEY stated that he’s been keeping up with the Second Amendment issues in
the news and pointed to several AR-style pistol braces on the floor in the living
room. (Approximately one week prior, on January 13, 2023, the Department of
Justice publicly announced a final regulation, which makes clear that when
manufacturers, dealers, and individuals use a stabilizing brace to convert a pistol into
a rifle with a barrel of less than 16 inches (i.e., a short-barreled rifle), they must
comply with the laws that regulate those rifles, including the National Firearms Act.)

29.  Iexited the Target Location with the privately made firearms and
silencers and placed the items in the UC vehicle. I then departed the area and
proceeded to a predetermined meeting location.

30. On January 25 through January 28, 2023, I texted and made recorded

phone calls with SHIRLEY via SHIRLEY Cell Phone 1. I advised SHIRLEY via

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text message, “When i see you again imma need to talk about a special request.
Small thing like i left behind but with a hush puppy on jt for an errand i gotta run.”
SHIRLEY responded, “That's easy. Done a few before. Come on by and we'll go
over it all” and “That's actually what I started with way back when.” SHIRLEY also
stated, “Also, the latest build I finished today, is pretty fucking sweet. I call it
‘careless whispers’ . 22Ir, with the best can I've ever built, buffer less recoil system,
gasless cycling and can still run 5.56 by just swapping out the bcg. I'm testing it
tonight with the quiet subsonic rounds I bought, and I expect great things.” Based
on my training and experience, I understood that SHIRLEY was stating that he
previously manufactured a .22 caliber rifle with a silencer.

31. On January 29, 2023, I requested a National Firearms Act (NFA) check
of SHIRLEY to determine if he (SHIRLEY) had any NFA items registered with
ATF. On January 30, 2023, I received a response indicating that ATF has no record
of NFA firearms registered by SHIRLEY.

32. On January 29, 2023, I queried the Jacksonville Electric Authority
(JEA) database for the account information associated with the Target Location.
According to JEA, the customer’s name is listed as “Shirley, Lucas Joel” and shows
a service start date of September 1, 2022. The account status shows that the account
is currently active.

33. On January 30, 2023, I measured the four privately made rifles

purchased from SHIRLEY on January 24, 2023. The overall length of each of the

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four rifles was approximately 23 1/4 inches. The length of each of the barrels was
approximately 7 1/2 inches.

34. Based on a ruling derived from the National Firearms Act of 1934 and
further defined in 18 U.S.C. § 921(a)(3), (7), and (8), the term “short-barreled rifle”
means a rifle having one or more barrels less than sixteen inches in length and any
weapon made from a rifle (whether by alteration, modification, or otherwise) if such
weapon, as modified, has an overall length of less than twenty-six inches.

35. Because the barrel length of all four privately made rifles were less than
sixteen inches and the overall lengths were less than twenty-six inches, I determined
that these firearms meet the legal definition of a short-barreled rifles. The
measurements were taken per the prescribed training methods of ATF.

“CONCLUSION

36. Based on the foregoing, there is probable cause to believe that on
January 24, 2023, SHIRLEY possessed and transferred unregistered short-barreled
rifles in violation of 26 U.S.C. § 5861(d)-(e). There is also probable cause to believe
that SHIRLEY has committed violations of 18 U.S.C. § 922(0) (possession of
machineguns); 26 U.S.C. § 5861(a) (failure to register as firearms dealer,
manufacturer, or importer, or to pay required tax); 26 U.S.C. § 5861(j) (transport,
delivery, or receipt of unregistered firearm); and 26 U.S.C. § 5861(f) (making of
firearm in violation of federal law). Furthermore, there is probable cause to believed

that the Target Location, more particularly described in Attachment A, contains items

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which are evidence of a crime, the fruits and instrumentalities of a crime, and
property used in committing a crime, as further described in Attachment B.

Respectfully submitted,

>

David Simmons, Special Agent
BUREAU OF ALCOHOL,
TOBACCO, FIREARMS &
EXPLOSIVES (ATF)

Subscribed and sworn to before me this Is day of February 2023.

United States Magistrate Judge
Middle District of Florida

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ATTACHMENT A
Location to be Searched

The Target Location is the premises located at 2085 Second Street,
Jacksonville, Florida 32218, within the Middle District of Florida.

The Target Location contains a single-family residence located on the north side
of Second Street, east of Cedar Street and west of Holly Street. The residence at the
Target Location is white in color with a wooden deck on the west side of the residence.
The Target Location is bordered by a chain link fence and has a group of mailboxes at
the fence line next to the driveway. A photograph of the residence can be seen below:

The residence at the Target Location has black numbers “2085” affixed to the
southwest corner.

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ATTACHMENT B
Items to be Seized

1. Ammunition, firearms accessories, and firearms (including silencers,
short-barreled rifles, machineguns, and any part designed or intended, or
combination of parts designed or intended, for use in converting a weapon into a
machinegun);

2. Kits, devices, packaging, tools, and other items related to the
possession, manufacture, or transfer of ammunition, firearms accessories, or
firearms, including raw materials, firearms parts, welding equipment, painting
equipment, lathes, drill presses, molds, and grinders;

3. Records and information concerning the possession, transfer, purchase,
or sale of ammunition, firearms accessories, or firearms;

4. Photographs or videos of ammunition, firearms accessories, or firearms;

5. Currency, financial instruments, precious metals, jewelry, and other
items of value, which may be the proceeds, or traceable to the proceeds of the illegal
sale of ammunition, firearms, or firearms accessories;

6. Records and information concerning the identity of any person with
dominion or control over the location being searched, such as documents and papers
bearing names and the address, registration or insurance documents, rental receipts,
lease agreements, mortgage records, utility bills, canceled mail, paycheck stubs, or

other employment records;
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7. Records and information concerning the identity of Lucas SHIRLEY

II, such as personal identification documents;

8. Cellular telephones (but not any cellular telephone on the person of any
individual other than SHIRLEY);

9. 3D printers, 3D printer supplies, and packaging for such items;

10. Computers, computer equipment, hard drives, and other electronic
storage medium connected to any 3D printer; and

11. For any cellular telephone, computer, or storage medium whose seizure

is otherwise authorized by this warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were created, edited, or
deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user profiles,
social media information or records, email, email contacts, “chat,”

instant messaging logs, photographs, and correspondence;

b. evidence indicating how and when the COMPUTER was accessed or
used to determine the chronological context of computer access, use,
and events relating to crime under investigation and to the computer

user;
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c. evidence of the attachment to the COMPUTER of other storage devices
or similar containers for electronic evidence;

d. evidence of the times the COMPUTER was used;

e. passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER; and.

f. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the

COMPUTER.

Without applying for another search warrant, this warrant authorizes the
search of any COMPUTER for the items, records, and information authorized to be
seized, as described above. The review of this electronic data may be conducted by
any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government,
attorney support staff, and technical experts.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as writing);
any mechanical form (such as printing or typing); and any photographic form (such
as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
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electrochemical, or other high speed data processing devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook computers,
server computers, and network hardware.

The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy disks,
flash memory, CD-ROMs, and other magnetic or optical media.

This warrant authorizes the seizure of digital records and information
described above only to the extent that they were created, saved, or edited during
time period from August 1, 2022, through the date of execution of the warrant,
except that evidence of who used, owned, or controlled a COMPUTER may be from
any period of time through the date of the execution of the warrant.

During the execution of the search, law enforcement personnel are specifically
authorized to obtain from SHIRLEY (but not any other individuals) the compelled
display of any physical biometric characteristics (such as fingerprint/thumbprint,
facial characteristics, or iris display) necessary to unlock any cellular telephone(s) that
are subject to seizure pursuant to this warrant for which law enforcement has
reasonable suspicion that SHIRLEY’s physical biometric characteristics will unlock

- the cellular telephone(s). In this regard, law enforcement is authorized to press fingers
or thumbs against, and/or put a face before, a sensor or any other security feature
requiring biometric recognition of such cellular telephone(s) for the purpose of
attempting to unlock the cellular telephone(s)’s security features in order to search the

contents as authorized by this warrant.
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While attempting to unlock the cellular telephone by use of the compelled
display of biometric characteristics pursuant to this warrant, law enforcement is not
authorized to demand that Shirley state or otherwise provide the password or
identify the specific biometric characteristics (including the unique finger(s) or other
physical features), that may be used to unlock or access the cellular telephone(s).
Nor does the warrant authorize law enforcement to use the fact that the warrant
allows law enforcement to obtain the display of any biometric characteristics to
compel Shirley to state or otherwise provide that information. However, the
voluntary disclosure of such information by SHIRLEY or others is permitted.

If SHIRLEY refuses to allow law-enforcement agents to apply his biometric
characteristics to any cellular telephone seized pursuant to this warrant in a manner
consistent with this warrant, he will be ordered to appear before United States
Magistrate Judge Laura Lothman Lambert in Jacksonville, Florida, to show cause

why he should not be held in contempt for failing to comply with a valid court order.
